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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

    PHI HEALTH, LLC, et al.,                  )
                                              )
          Plaintiffs,                         )
                                              )          No. 6:22-CV-95-REW-EBA
    v.                                        )
                                              )                 ORDER
    U.S. DEP’T. OF HEALTH AND HUM.            )
    SERVS., et al.,                           )
                                              )
          Defendants.                         )

                                       *** *** *** ***

           Defendants move to change venue. See DE 21 (Motion). The Court REFERS the

    venue matter to United States Magistrate Judge Edward B. Atkins for appropriate

    decision.

           This the 7th day of July, 2022.
